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Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-25
                                309-11 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 1
                                                           1 of
                                                             of 4
                                                                4




               EXHIBIT 11
Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-25
                                309-11 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 2
                                                           2 of
                                                             of 4
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Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-25
                                309-11 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 3
                                                           3 of
                                                             of 4
                                                                4
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Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-25
                                309-11 Filed
                                       Filed 06/12/17
                                             04/28/17 Page
                                                      Page 4
                                                           4 of
                                                             of 4
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